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 5 Attorneys for
     JESUS VALENCIA ONTIVEROS
 6
 7                    IN THE UNITED STATES DISTRICT COURT
 8                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 9 UNITED STATES OF AMERICA,      )                No. CR.S-07-0088-FCD
                                  )
10                Plaintiff,      )
                                  )
11                                )                STIPULATION AND ORDER
        v.                        )                CONTINUING THE DATE FOR
12                                )                SENTENCING FROM AUGUST 25,
   JESUS VALENCIA ONTIVEROS )                      2008 TO SEPTEMBER 22, 2008
13                                )                AND MODIFYING THE DATE
                                  )                FOR DISCLOSURE OF THE
14                                )                PRE-SENTENCE REPORT
                  Defendant.      )
15 _______________________________)
16        The defendant, Jesus Valencia Ontiveros, by and through his attorney, Bruce
17 Locke, and the United States, by and through its attorney, Philip Ferrari, hereby
18 stipulate that the Judgement and Sentencing currently set for August 25, 2008 shall be
19 continued to September 22, 2008 at 10:00 a.m., and the parties further stipulate that the
20 Motion for Correction of the Pre-Sentence Report shall be filed with the Court and
21 served on the Probation Officer and opposing counsel no later than September 8, 2008.
22 Mr. Ferrari has authorized undersigned counsel to sign his name to this Stipulation and
23 Order.
24
25                                         Respectfully submitted,
26 DATED: August 18, 2008                        /S/
                                           BRUCE LOCKE
27                                         Attorney for Jesus Valencia Ontiveros
28
29                                             1
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 1
 2 DATED: August 18, 2008                    /S/
                                        PHILIP FERRARI
 3                                      Attorney for the United States
 4
 5 IT IS SO ORDERED:
 6
     DATED: August 18, 2008
 7                                  _______________________________________
 8                                  FRANK C. DAMRELL, JR.
                                    UNITED STATES DISTRICT JUDGE
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